EXHIBIT 5
                                                                                                                   INDEX NO. 651947/2016
NYSCEF DOC. NO. 112                                                                                          RECEIVED NYSCEF: 02/09/2021



                                 SUPREME COURT OF THE STATE OF NEW YORK
                                           NEW YORK COUNTY
          PRESENT:             HON. CAROL R. EDMEAD                                            PART           IAS MOTION 35EFM
                                                                                    Justice
          ---------------------------------------------------------------------------------X   INDEX NO.          651947/2016
           MEI CHU, SAU CHUNG, QUN LING
                                                                                               MOTION DATE         08/06/2020
                                                       Plaintiff,
                                                                                               MOTION SEQ. NO.         005
                                               -v-
           CHINESE-AMERICAN PLANNING COUNCIL HOME
                                                                                                 DECISION + ORDER ON
           ATTENDANT PROGRAM, INC.,
                                                                                                       MOTION
                                                       Defendant.
          ---------------------------------------------------------------------------------X

          The following e-filed documents, listed by NYSCEF document number (Motion 005) 101, 102, 103, 104,
          105, 106, 107, 108, 109, 110, 111
          were read on this motion to/for                                                       RENEWAL                          .

          Upon the foregoing documents, it is

                  ORDERED that Plaintiffs’ application for leave to reargue this Court’s February 25,
          2020 order is granted, and upon reargument, this Court restores this case to active status and
          grants leave for Plaintiffs to amend their complaint; and it is further

                  ORDERED that Plaintiffs are to serve a copy of this order restoring the case to active
          status on the Office of the Clerk (Room 119) within twenty (20) days; and it is further

                  ORDERED that Plaintiffs shall serve a copy of their amended complaint on all parties
          within twenty (20) days; and it is further

                  ORDERED that Plaintiffs’ application to vacate the stay of this proceeding issued on
          April 17, 2017 is denied at this juncture, to be reconsidered following determination with respect
          to Plaintiffs’ amended complaint; and it is further

                 ORDERED that Plaintiff’s application for permission to appeal this Court’s March 19,
          2019 order is denied as moot; and it is further

                 ORDERED that counsel for Plaintiffs shall serve a copy of this order, along with Notice
          of Entry, on all parties within twenty (20) days.




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                                               MEMORANDUM DECISION

                    In this action, Plaintiffs seek an order (1) granting leave to reargue1 the portion of this

          Court’s February 25, 2020 order declining to restore this action pursuant to CPLR 2221; (2)

          lifting the stay of this action issued by this Court on April 17, 2017; and (3) permitting Plaintiffs

          to appeal the March 12, 2019 order of this Court dismissing the case without prejudice.

          Defendant opposes the motion in its entirety.

                                                        BACKGROUND

                    This motion stems from one of two sister actions that a group of home care aides

          employed to care for elderly individuals filed against Defendant Chinese-American Planning

          Council Home Attendant Program.

          The First Action

                    The first action, commenced in 2015, is Chan v. Chinese-American Planning Council

          Home Attendant Program, Inc., Index No. 650737/2015 (Sup. Ct. N.Y. Cnty.) There are three

          named plaintiffs in Chan who represent a putative class comprising “[a]ll current and former

          home care aides . . . employed by [CPC] in New York to provide care services to [CPC’s] elderly

          or disabled clients in the clients’ homes during the six years preceding the filing of the

          Complaint in this case through the present (the ‘Class Period’)” (NYSCEF doc No. 10, ¶ 13).

                    On November 9, 2015, Plaintiffs amended their complaint to add causes of action under

          the federal Fair Labor Standards Act, and on December 8, 2015, Defendant removed the case to

          the Southern District of New York (NYSCEF doc No. 12 at 1).




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           Plaintiffs in their Notice of Motion and Memorandum of Law characterize their application as one for “reargument
          and renewal,” but clarified in their Reply that the relief sought is that of reargument.
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                 In December 2015, the Collective Bargaining Agreement (“CBA”) between Defendant

          and Plaintiffs’ labor union, 1199SEIU United Health Care Workers East (the “Union”) was

          amended by a Memorandum of Agreement dated December 1, 2015 (the “MOA”), which

          required all wage-and-hour claims brought by employees, such as those in Chan, to be submitted

          exclusively to the arbitration forum provided for in the agreement (NYSCEF doc No. 22). On

          December 15, 2015 Defendant accordingly moved to compel arbitration in Chan pursuant to the

          MOA (NYSCEF doc No. 12 at 1, 3).

                 By Memorandum Decision and Order dated February 3, 2016, United States District

          Judge Katherine B. Forrest granted Defendant’s motion and ordered Chan to be arbitrated, and

          stayed the action pending the arbitration (Chan v Chinese-American Planning Council Home

          Attendant Program, Inc., 180 F. Supp. 3d 236 [S.D.N.Y. 2016].

          The Second Action

                 On April 12, 2016, Plaintiffs’ attorneys commenced the action now before this Court

          with three different named plaintiffs, seeking to file a class action against Defendant rather than

          proceed to arbitration. Plaintiffs defined the putative class as: “All home care aides . . . employed

          by [CPC] in New York to provide care services to [CPC’s] elderly and disabled clients in the

          clients’ homes during the period beginning from April 1, 2008 through June 1, 2015.” (NYSCEF

          doc No. 1, ¶¶ 16, 68–98).

                 On September 26, 2016, Defendant moved to stay this matter pending resolution of the

          Chan claims in the Arbitration on the grounds that that the class in Chan subsumes the class in

          this action (NYSCEF doc No. 7). On April 17, 2017, this Court granted the motion and stayed

          this action pending the resolution of Chan, which today remains ongoing (NYSCEF No. 61).




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                  In March 2019, the parties appeared for a conference with this Court and discussed the

          status of the case and arbitration proceedings. On March 12, 2019, the Court issued an Order

          stating that “the [Chan] arbitration may resolve all of the issues in this action” (NYSCEF doc

          No. 66). This Court thus dismissed this action without prejudice, to be restored “following the

          completion of arbitration if that process does not resolve all issues in this action” (id.)

                  On January 10, 2020, Plaintiffs filed a motion to restore this case and for a TRO to enjoin

          the arbitration from proceeding. On January 13, 2020, this Court heard the parties on the TRO

          motion and denied the TRO.

                  On February 25, 2020, the parties appeared before this Court on Plaintiffs’ motion to

          restore and enjoin (NYSCEF No. 107). At the hearing, Plaintiffs argued that the claims should be

          restored prior to the resolution of the arbitration. In support, Plaintiff argued that the three

          individual named plaintiffs in this action stopped working for CPC before the effective date of

          the MOA, and the First Department has recently held in other cases that such pre-MOA

          employees cannot be compelled to arbitrate their claims. This Court declined to grant the relief

          sought given that, inter alia, although the named plaintiffs may have stopped working for

          Defendant before the MOA, they purport to represent a putative class that is not limited to pre-

          MOA employees, and Plaintiff must accordingly commence a new complaint with a class limited

          to that subset (id. at 35:12–46:21). This Court’s order following oral argument held that: “in light

          of (the Court’s) determination that the instant proceeding carves out a new, discreet class, makes

          new arguments concerning the MOA, and relies on recent First Department case law, the parties

          must commence a new proceeding under a new index number” (NYSCEF doc No. 108).

                  On June 28, 2020, Plaintiffs filed a Notice of Appeal of both the March 2019 order

          dismissing the case and the February 2020 order (NYSCEF doc Nos. 96, 99).


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          The Instant Motion

                 On August 6, 2020 Plaintiffs filed the motion now before this court, moving, pursuant to

          CPLR 2221(d) to reargue the portion of the Court's February 25, 2020 order declining to

          reinstate this matter on the grounds that the First Department has now at three separate times

          determined that employees who stopped working prior to the execution of a MOA requiring

          arbitration are not required to arbitrate their claims (Hichez v United Jewish Council of the E.

          Side, 179 AD3d 576 [1st Dept 2020]; Konstantynovska v Caring Professionals, Inc., 172 AD3d

          486 [1st Dept 2019]; Lorentti-Herrera v All. for Health, Inc., 173 AD3d 596 [1st Dept 2019]).

                 Konstantynovska, Lorenitti-Herrera and Hichez involved home health attendants who

          sought to bring unpaid wage claims against their employers. In each case, the defendant

          employer-agencies argued that the employees must be compelled to arbitrate their claims

          pursuant to a CBA and MOA nearly identical to the agreements at issue in the instant matter. In

          all three cases, the First Department affirmed the trial court’s decision that the former employees

          were not bound by agreements entered into after they ceased working for their employer and thus

          could not be compelled to arbitration. (See Hichez, 179 AD3d at 577; Konstantynovska, 172

          AD3d at 486 [employees were not “bound by [a Memorandum of Agreement to arbitrate]

          because they were no longer defendant’s employees when it was executed, they were not parties

          to that agreement, and there is no evidence that the Union was authorized to proceed on their

          behalf”)] citing Chu, 194 F.Supp.3d at 228; Lorentti- Herrera, 173 A.D.3d at 596 [“Although

          defendant and the Union [1199 SEIU] entered into a memorandum of agreement (MOA)...that

          modified the CBA to mandate arbitration for Labor Law claims, plaintiff's employment with

          defendant ended...and neither she nor any other class member who was not employed by




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          defendant when the MOA was entered into is bound by the MOA's arbitration provision.”]

          [citing Konstantynovska, 172 AD3d at 487]).

                  Plaintiffs thus conclude that this Court erred in declining to reinstate the case and

          directing Plaintiffs to file a new action, and add that Plaintiffs may be prejudiced if this Court

          does not reinstate the case as Plaintiffs will be subject to statute of limitations defenses. Plaintiffs

          also move for vacatur of this Court’s April 2017 order staying this proceeding until the

          completion of the Chan arbitration, on the grounds that Plaintiffs in this case are not involved in

          the arbitration. Finally, Plaintiffs move for permission to appeal the March 2019 order

          dismissing this case, which is required as the order was issued sua sponte.

                  In opposition, Defendant argues that Plaintiff’s application for reargument is meritless as

          Plaintiffs identify no issues of law or fact overlooked by this Court when it issued the February

          25, 2020 decision. Defendant additionally argues that this Court should deny Plaintiff’s

          application to vacate the stay, as contrary to Plaintiff’s claims, their class comprises post-MOA

          employees that are bound by the Chan arbitration. Defendant finally argues that Plaintiffs’

          application for permission to appeal the March 2019 order should be denied as untimely.

                                                     DISCUSSION

          Leave to Reargue

                  CPLR 2211(d)(2) provides that a motion for leave to reargue “shall be based upon matters

          of fact or law allegedly overlooked or misapprehended by the court in determining the prior

          motion, but shall not include any matters of fact not offered on the prior motion.”

                  A motion for leave to reargue under CPLR 2221 “is addressed to the sound discretion of

          the court and may be granted only upon a showing ‘that the court overlooked or misapprehended

          the facts or the law or for some reason mistakenly arrived at its earlier decision’” (William P. Pahl


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          Equipment Corp. v Kassis, 182 AD2d 22 [1st Dept 1992] lv denied and dismissed 80 NY2d 1005,

          [1992], rearg. denied 81 NY2d 782 [1993]). Reargument is not designed to afford the unsuccessful

          party successive opportunities to reargue issues previously decided (Pro Brokerage v Home Ins.

          Co., 99 AD2d 971) or to present arguments different from those originally asserted (Foley v Roche,

          68 AD2d 558; Pahl Equip. Corp. v Kassis, 182 AD2d at 27). On reargument, the court’s attention

          must be drawn to any controlling fact or applicable principle of law which was misconstrued or

          overlooked (see Macklowe v Browning School, 80 AD2d 790 [1st Dept 1981]).

                 In support of their motion for reargument, Plaintiffs cite to the recent First Department

          caselaw holding that pre-MOA employees are not required to arbitrate their claims. Two of the

          three decisions, Konstantynovska v Caring Professionals, Inc., 172 AD3d 486 (1st Dept 2019)

          and Lorenitti-Herrera v All for Health, Inc., 173 AD3d 596 (1st Dept 2019), were issued before

          the February 2020 order and were incorporated into the parties’ submissions for the prior motion.

          The First Department’s decision in the third case, Hichez v United Jewish Council of the E. Side,

          179 AD3d 576 [1st Dept 2020] was issued on January 23, 2020 after Plaintiffs submitted their

          papers but was discussed at oral argument (NYSCEF doc No. 107 at 23).

                 The Court did not disregard this caselaw; indeed, at oral argument the Court cited the

          new First Department caselaw as part of the basis for its decision (“the motion to restore is to

          restore on a basis that wasn’t before the Court. It really is a new claim, with new clearly defined

          parties, with a new theory based on the First Department”) (NYSCEF doc No. 107 at 51:1-5).

          Plaintiffs thus cannot now argue that this Court overlooked the First Department caselaw or its

          implications.

                 Plaintiffs additionally contend that this Court overlooked the fact that “it is undisputed

          that Plaintiffs themselves stopped working for Defendant before the MOA” and thus should not


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          have ordered Plaintiffs to create a new class (NYSCEF doc No. 111). That fact, however, is

          indeed disputed not only by Defendant but by the entire evidentiary record of this proceeding.

          The complaint defines the “Class Members” as:

                    “All home care aides, meaning home health aides, personal care aides, home attendants
                    or other licensed or unlicensed persons whose primary responsibilities include the
                    provision of in-home assistance with activities of daily living, instrumental activities of
                    daily living or health-related tasks, employed by Defendant in New York to provide care
                    services to Defendant’s elderly and disabled clients in the clients’ homes during the
                    period beginning from April 1, 2008 through June 1, 2015 (the ‘Class Period’)”.
                    (NYSCEF do No. 1, ¶ 16).

                    It is unclear that the class as defined omits post-MOA employees, given that an employee

          theoretically could have been working during the Class Period and continued working after the

          MOA was entered in December 2015. This Court thus accordingly differentiated this proceeding

          from Konstantynovska, Lorenitti-Herrera, and Hichez, where it was not disputed that the

          employees involved had all stopped working prior to the execution of the MOA.

                    Plaintiffs’ final argument in support of leave to reargue is that this Court overlooked the

          fact that if Plaintiffs have to file a new action, they may be subject to statute of limitation

          defenses, specifically regarding the New York Labor Law, which contains a six-year statute of

          limitations. While this Court’s February 2020 order did not specifically address statute of

          limitations concerns,2 the Court did opine during oral argument that Plaintiffs could rely on the

          relation back doctrine in response to any statute of limitations issues (“Has the statute run where

          they can’t commence? You could argue substantial relation back….I would understand the

          relation back basis to start a new complaint now. Because, the understanding and this record

          would support a relation back” (NYSCEF doc No. 107 at 46-48, 24:5).


          2
            Defendant argues that this Court was “plainly aware of and did consider” statute of limitations concerns and opted
          to dismiss the case anyway as it noted that “plaintiffs would be prejudiced by any dismissal of the instant matter”
          (NYSCEF doc No. 110 at 7). However, the Court made that observation in its April 2017 decision staying this
          matter (NYSCEF doc No. 61), not the February 2020 order that is the subject of this reargument motion.
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          The Relation Back Doctrine

                 The relation-back doctrine provides that “[a] claim asserted in an amended pleading is

          deemed to have been interposed at the time the claims in the original pleading were interposed,

          unless the original pleading does not give notice of the transactions [or] occurrences . . . to be

          proved pursuant to the amended pleading” (CPLR 203[f]). The doctrine is “[a]imed at

          liberalizing the strict, formalistic pleading requirements . . .while at the same time respecting the

          important policies inherent in statutory repose,” and “enables a plaintiff to correct a pleading

          error—by adding either a new claim or a new party—after the statutory limitations period has

          expired” (Buran v Coupal, 87 NY2d 173, 177 [1995] [citations omitted]).

                 Although the Court opinied that Plaintiffs could rely on the relation-back doctrine, the

          text of the doctrine as codified under CPLR 203(f) reflects that the doctrine pertains only to

          amended pleadings, and thus the doctrine would not be available to Plaintiffs if a new complaint

          were filed under a new index number. In Nakahata v New York-Presbyterian Healthcare System

          Inc. (23 F3d 192 [2d Cir 2013]), a group of health care workers in a class action against their

          employer sought to add time-barred claims to a new complaint. While a federal action, Nekahata

          involved circumstances similar to those here, as the plaintiffs sought to add time-barred claims

          under the New York Labor Law. The Second Circuit Court of Appeals held that the district court

          prejudiced the Plaintiffs by requiring them to file a new action, as only the claims still timely on

          the date of the new action could move forward:

                 “The District Court did permit Plaintiffs to refile their FLSA and NYLL claims in a new
                 action, which obviated much—but not all—of the prejudice Plaintiffs experienced from
                 the denial of leave to amend. The option to file a new action preserved the FLSA and
                 NYLL claims that remained timely on the date the new action was filed, but Plaintiffs
                 lost the opportunity to pursue claims that became time-barred pursuant to the statute of
                 limitations in the interim between the filing of the original complaints and the filing of
                 the new complaints . . . Because Plaintiffs were prejudiced through lost causes of action


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                 resulting from the termination of the original complaints, we hold that the District Court
                 abused its discretion in not permitting Plaintiffs to file an amended complaint.”
                 (id. at 199).

                 The First Department has also made it clear that the doctrine is employed to assess

          whether an otherwise untimely claim can be added to an amended pleading (see Demir v Sandoz,

          155 AD3d 464 [1st Dept 2017], [untimely claims in a second amended complaint could be

          asserted as they pertained to the original complaint], Giambrone v Kings Harbor Multicare Ctr.,

          104 AD3d 546, 548 [1st Dept 2013] [holding that the dispositive issue in determining whether an

          otherwise untimely claim . . . relates back to a timely commenced action is “whether, as the

          statute provides, the original pleading gives notice of the transactions [or] occurrences . . . to be

          proved pursuant to the amended pleading'”] [emphasis added]). The same standard also applies

          to counterclaims asserted by defendants; the counterclaims must “relate back to the original

          counterclaims” asserted in the same proceeding (Beach v Touradji Capital Mgmt., LP, 142 AD3d

          442, 443 [1st Dept 2016]). The Court’s research did not produce any instances where New York

          courts allowed the relation-back doctrine to be asserted under a new complaint as opposed to an

          amended pleading.

                 This Court thus finds that in directing Plaintiffs to file a new complaint, it overlooked the

          possibility that Plaintiffs may be precluded from pursuing claims that were timely at the

          commencement of this action in 2016 but would be time-barred in a new action. Rather than file

          a new complaint, the most prudent course of action here is for Plaintiffs to file an amended

          complaint wherein the definition of “Class Members” is amended to clarify beyond any doubt

          that the proposed class does not include any employees who worked on or after the execution of

          the MOA on December 1, 2015.




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                  Accordingly, the branch of the motion seeking reargument of this Court’s February 25,

          2020 order is granted, and upon reargument, the Court finds that this matter should be restored to

          active status and directs Plaintiffs to file an amended complaint with a newly defined class.

          Vacatur of the Stay

                  In addition to restoration of the case, Plaintiffs also move for vacatur of the stay imposed

          by this Court in its April 2017 order, wherein the Court directed that this matter was stayed

          pending the resolution of the Chan arbitration given the potential overlap among class parties

          (NYSCEF doc No. 61). This Court additionally held that the stay should be imposed as litigating

          substantially overlapping claims simultaneously violates principles “of ‘comity, orderly

          procedure and judicial economy’” and would constitute “duplication of effort and waste of

          judicial resources” (id.).

                  Plaintiffs contend that there is no longer any basis for the stay and upholding it would

          only further prejudice Plaintiffs (NYSCEF doc No. 109 at 7).

                  Defendant argues that even were this Court to restore the case, it should still uphold the

          stay given that “the substantial majority of the putative class defined in the Complaint is

          conclusively and properly compelled to a pending arbitration” and therefore the Court’s concerns

          about judicial economy are still valid today (NYSCEF doc No. 110 at 8). Defendant additionally

          contends it would be “improper” for it to have to litigate the same claims in multiple forums

          simultaneously (id.). However, there will be no longer be an issue with class overlap with Chan

          once the complaint is amended to reflect that the class in this proceeding is wholly separate from

          the class in the Chan arbitration.

                  Accordingly, the Court will reconsider vacatur of the stay issued on April 17, 2017

          following determination with respect to Plaintiff’s amended complaint.


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          Permission to Appeal this Court’s March 12, 2019 Order3

                    In the final branch of their motion, Plaintiffs seek permission to appeal this Court’s

          March 12, 2019 order dismissing this case without prejudice, which was issued supa sponte

          following years of inaction in this proceeding. Generally, an appeal may be taken to the

          Appellate Division as of right from an order deciding a motion made upon notice when, inter

          alia, the order affects a substantial right (see CPLR 5701[a][2][v]). There is, however, no right of

          appeal from an ex parte order, including an order entered sua sponte (Sholes v Meagher, 100

          N.Y.2d 333, 335 [2003]).

                    Of course, Plaintiffs’ application is moot given that that this Court has now determined

          the case should be restored to active status. However, assuming arguendo that the Court denied

          Plaintiffs’ motion for reargument, the Court writes to note that it would have granted Plaintiffs

          permission to appeal.

                    Defendant argues that Plaintiffs’ application is untimely pursuant to CPLR 5513(b)

          which governs time to move for permission to appeal:

                    “The time within which a motion for permission to appeal must be made shall be
                    computed from the date of service by a party upon the party seeking permission of a copy
                    of the judgment or order to be appealed from and written notice of its entry, or, where
                    permission has already been denied by order of the court whose determination is sought
                    to be reviewed, of a copy of such order and written notice of its entry, except that when
                    such party seeking permission to appeal has served a copy of such judgment or order and
                    written notice of its entry, the time shall be computed from the date of such service. A
                    motion for permission to appeal must be made within thirty days.”

                    Defendant argues that Plaintiffs served “the equivalent of notice of entry” when they

          attached a copy of the March 2019 order to their affirmation in support of their TRO motion in

          January 2020 (NYSCEF doc No. 71), and their time to move for permission thus expired thirty



          3
           The Court notes that notwithstanding the application for permission to appeal, Plaintiffs did file a Notice of Appeal
          of the March 12, 2019 and February 25, 2020 orders on June 28, 2020 (NYSCEF doc Nos. 96, 99).
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          days thereafter. However, the copy of the March 2019 order that was attached as an exhibit to

          Plaintiff’s TRO motion is not a formal Notice of Entry, as it is not “stamped with the date and

          place of entry [and] signed by the clerk” (Reynolds v Dustman, 1 NY3d 559, 560 [2003], citing

          CPLR 5016(a)], nor does it “state exactly when and with whom the order or judgment was

          entered” (Reynolds, supra at 560). The record reflects that Plaintiffs did not serve a formal

          Notice of Entry until May 2020 (NYSCEF doc No. 93), and the application made in this motion

          in August 2020 is timely pursuant to Governor Cuomo’s Executive Order 202.67 that tolled from

          March 20, 2020 through November 3, 2020 any “any specific time limit for the commencement,

          filing, or service of any legal action, notice, motion, or other process or proceeding as prescribed

          by the procedural laws of the state.”

                 Accordingly, Plaintiffs’ application is denied as moot, but had this Court determined that

          this case should remain dismissed, it would have granted Plaintiffs permission to appeal the

          March 12, 2019 order.

                                                    CONCLUSION

                 Accordingly, it is hereby

                 ORDERED that Plaintiffs’ application for leave to reargue this Court’s February 25,

          2020 order is granted, and upon reargument, this Court restores this case to active status and

          grants leave for Plaintiffs to amend their complaint; and it is further


                 ORDERED that Plaintiffs are to serve a copy of this order restoring the case to active

          status on the Office of the Clerk (Room 119) within twenty (20) days; and it is further


                 ORDERED that Plaintiffs shall serve a copy of their amended complaint on all parties

          within twenty (20) days; and it is further


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                  ORDERED that Plaintiffs’ application to vacate the stay of this proceeding issued on

          April 17, 2017 is denied at this juncture, to be reconsidered following determination with respect

          to Plaintiffs’ amended complaint; and it is further


                  ORDERED that Plaintiff’s application for permission to appeal this Court’s March 19,

          2019 order is denied as moot; and it is further


                  ORDERED that counsel for Plaintiffs shall serve a copy of this order, along with Notice

          of Entry, on all parties within twenty (20) days.




                   2/9/2021
                    DATE                                                        CAROL R. EDMEAD, J.S.C.
           CHECK ONE:                  CASE DISPOSED                 X   NON-FINAL DISPOSITION

                                       GRANTED              DENIED   X   GRANTED IN PART             OTHER

           APPLICATION:                SETTLE ORDER                      SUBMIT ORDER

           CHECK IF APPROPRIATE:       INCLUDES TRANSFER/REASSIGN        FIDUCIARY APPOINTMENT       REFERENCE




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